Case 3:24-cv-02425-E-BN    Document 13       Filed 01/21/25   Page 1 of 1   PageID 127



                     IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

 RYAN SCOTT BARNETT,                     §
                                         §
             Plaintiff,                  §
                                         §
 V.                                      §            No. 3:24-cv-2425-E
                                         §
 CITY OF DALLAS, ET AL.,                 §
                                         §
             Defendants.                 §

           ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND
      RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

        The United States Magistrate Judge made findings, conclusions, and a

 recommendation in this case. Objections were filed. The District Court reviewed de

 novo those portions of the proposed findings, conclusions, and recommendation to

 which objection was made, and reviewed the remaining proposed findings,

 conclusions, and recommendation for plain error. Finding no error, the Court

 ACCEPTS the Findings, Conclusions, and Recommendation of the United States

 Magistrate Judge.

        SO ORDERED this 21st day of January, 2025.
